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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


 ST. CHARLES PARISH, A POLITICAL
 SUBDIVISION OF THE STATE OF
 LOUISIANA, AND MATTHEW JEWELL, IN
 HIS OFFICIAL CAPACITY AS ST. CHARLES
 PARISH PRESIDENT,                    Civil Action No. 2:23-cv-01369

                                                     Section P
                     Plaintiffs,
                                                     Judge Papillion
         v.
                                                     Magistrate Judge North
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY,


                     Defendant.


                                   NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that Defendant’s Motion for Additional Pages is hereby set for

submission for District Judge Darrel J. Papillion on July 10, 2024.

       Dated: June 17, 2024                      Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 MARCIA BERMAN
                                                 Assistant Branch Director
                                                 Civil Division, Federal Programs Branch

                                                 /s/ Yoseph T. Desta
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